                        CASE 0:22-cr-00076-KMM-TNL Doc. 12 Filed 06/13/22 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     SHEVIRIO KARIRION CHILDS-                Criminal No. 22-076 (KMM/TNL)
          YOUNG,
                             Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: SHEVIRIO KA IRION CHILDS-YOUNG
Detained at (custodian): MINNESOTA CORRECTIONAL FACILITY - RUSH CITY

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Aiding and Abetting Carjacking
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on June 14, 2022 at 0 :00 .m. in the courtroom of The Honorable John F. Docherty.

Dated: June 10, 2022                                                                    s/Thomas Calhohn-Lopez
                                                                                    THOMAS CALHOUN-LOPEZ, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

____________________________________                                                         ______________________________________
Date UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):             Rio                                                        Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/
     Facility Address:                                                                                 Race:
                                                                                                       FBI #:
     Facility Phone:
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)
